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      12
           Attorneys for Plaintiffs Ernesto Jimenez, Luis Pimentel, Jorge Garcia, Miguel
      13
           Martinez and Agustin Aguilar [Counsel continued on last page below]
      14
                             UNITED STATES DISTRICT COURT
      15

      16             FOR THE CENTRAL DISTRICT OF CALIFORNIA
      17
         SERGIO GALICIA               )         Case No.: 5:17-cv-00390-JGB (RAOx)
      18 GONZALEZ, an individual,     )         (Consolidated with Case No. 5:17-cv-
                                      )
         appearing on behalf of himself         00571-JGB (RAOx))
      19
                                      )
         and all others similarly situated,
      20                              )         PLAINTIFFS’ NOTICE OF
                 Plaintiff,           )         MOTION AND MOTION FOR
      21
                                      )         MONETARY AWARDS TO CLASS
      22                 vs.          )         REPRESENTATIVES, CLASS
                                      )         COUNSEL AND SETTLEMENT
      23
           BMC WEST, LLC, a Delaware )          ADMINISTRATOR
      24   limited liability company, )
                                      )         Date: November 19, 2018
      25
                 Defendant.           )         Time: 9:00 a.m.
      26                              )         Ctrm: 1
      27

      28                                               MOTION FOR MONETARY AWARDS TO
                                                       CLASS REPRESENATIVES, CLASS
                                                       COUNSEL AND ADMINISTRATOR - 1
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                           NOTICE OF MOTION AND MOTION
       1
                 TO DEFENDANT AND TO ITS ATTORNEYS OF RECORD:
       2
                 PLEASE TAKE NOTICE that on November 19, 2018, at 9:00 a.m., or
       3
           as soon thereafter as counsel may be heard by the above-entitled Court, in
       4
           Courtroom 1 of the United States District Court for the Central District of
       5
           California, located at 3470 Twelfth Street, Riverside, California 92501,
       6
           Plaintiffs Sergio Galicia Gonzalez, Ernesto Jimenez, Luis Pimentel, Jorge
       7
           Garcia, Miguel Martinez and Agustin Aguilar (“Plaintiffs” or “Class
       8
           Representatives”) will and hereby do move, pursuant to Rule 23(e) of the
       9
           Federal Rules of Civil Procedure, for an order as follows in connection with
      10
           Plaintiffs’ concurrent motion for final approval of the proposed class action
      11
           settlement (“Settlement”) with Defendant BMC West, LLC (“Defendant” or
      12
           “BMC”):
      13
                 1. awarding to each Plaintiff as Class Representative an Incentive
      14
                 Payment in the amount of $10,000.00;
      15
                 2. awarding collectively to Class Counsel, Robert W. Skripko, Jr. of the
      16
                 Law Office of Robert W. Skripko, Jr., PC, Paul J. Denis and Ethan E.
      17
                 Rasi of Denis & Rasi, PC, Gregg A. Farley of the Law Offices of Gregg
      18
                 A. Farley and Sahag Majarian, II, of the Law Offices of Sahag Majarian,
      19
                 attorneys’ fees in the amount of $1,137,500.00, with such fees to be
      20
                 distributed in accordance with Plaintiffs’ fee-sharing agreements with
      21
                 Class Counsel, which were disclosed to the Court;
      22
                 3. awarding collectively to the same Class Counsel litigation costs and
      23
                 expenses in the amount of $22,565.41, with such litigation costs and
      24
                 expenses to be distributed to the Class Counsel who incurred the costs
      25
                 and expenses; and
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      28                                                MOTION FOR MONETARY AWARDS TO
                                                        CLASS REPRESENATIVES, CLASS
                                                        COUNSEL AND ADMINISTRATOR - 2
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                 4. awarding to Simpuris, Inc. as Administrator the amount of
       1
                 $99,782.00 for the fees and costs of administration of the Settlement.
       2
                 This motion is based on this Notice of Motion and Motion; the
       3
           accompanying Memorandum of Points and Authorities; the Declarations of
       4
           Plaintiffs Sergio Galicia Gonzalez, Ernesto Jimenez, Luis Pimentel, Jorge
       5
           Garcia, Miguel Martinez and Agustin Aguilar filed in support of the concurrent
       6
           motion for final approval; the Declarations of Class Counsel, Robert W.
       7
           Skripko, Jr., Paul J. Denis, Ethan E. Rasi, Gregg A. Farley and Sahag Majarian,
       8
           II, filed in support of the concurrent motion for final approval; the Declaration
       9
           of Jeremiah Kincannon, Simpluris’ representative, filed in support of the
      10
           concurrent motion for final approval; the proposed Order of Final Approval
      11
           and Judgment Dismissing Actions with Prejudice; the pleadings and papers on
      12
           file herein; and upon such other matters as may be presented to the Court at the
      13
           time of the hearing.
      14
                 This motion is made following the conference of counsel pursuant to
      15
           Local Rule 7-3 which took place on October 12, 2018.
      16
           Dated: October 19, 2018          LAW OFFICES OF GREGG A. FARLEY
      17

      18                                    By: _______/s/Gregg A. Farley__________
      19                                                 Gregg A. Farley
                                            Attorneys for Plaintiff Sergio Galicia
      20
                                            Gonzalez, appearing individually and in a
      21                                    representative capacity
      22
           Dated: October 19, 2018          LAW OFFICE OF ROBERT W. SKRIPKO,
      23                                    JR.
      24
                                            By: _______/s/Robert W. Skripko__________
      25
                                                         Robert W. Skripko
      26                                    Attorneys for Plaintiffs Ernesto Jimenez, Luis
      27                                    Pimentel, Jorge Garcia, Miguel Martinez and

      28                                                 MOTION FOR MONETARY AWARDS TO
                                                         CLASS REPRESENATIVES, CLASS
                                                         COUNSEL AND ADMINISTRATOR - 3
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                                         Agustin Aguilar, appearing individually and in
       1
                                         a representative capacity
       2

       3 Counsel continued:

       4
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       6   Ethan E. Rasi (State Bar No. 289848)
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      10
         Attorneys for Plaintiffs Ernesto Jimenez, Luis Pimentel,
      11
         Jorge Garcia, Miguel Martinez and Agustin Aguilar, appearing
      12 individually and in a representative capacity

      13
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      17
         Tarzana, California 91356

      18
         Attorneys for Plaintiff Sergio Galicia Gonzalez, appearing
      19 individually and in a representative capacity

      20

      21

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      28                                             MOTION FOR MONETARY AWARDS TO
                                                     CLASS REPRESENATIVES, CLASS
                                                     COUNSEL AND ADMINISTRATOR - 4
